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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
                                    CAMDEN VICINAGE


  NEW JERSEY STAFFING ALLIANCE, NEW
  JERSEY BUSINESS and INDUSTRY
  ASSOCIATION, and AMERCIAN STAFFING
  ASSOCIATION,

       Plaintiffs,

  v.
                                                      Civil Action No. 23-CV-02494
  STATE OF NEW JERSEY, ROBERT ASARO-                            (CPO-MJS)
  ANGELO, COMMISSIONER of LABOR and
  WORKFORCE DEVELOPMENT, NEW JERSEY
  DEPARTMENT of LABOR and WORKFORCE
  DEVELOPMENT, CARI FAIS, ACTING
  DIRECTOR of the NEW JERSEY DIVISION OF
  CONSUMER AFFAIRS in the
  DEPARTMENT of LAW and PUBLIC
  SAFETY, NEW JERSEY DIVISION of
  CONSUMER AFFAIRS in the DEPARTMENT
  OF LAW and PUBLIC SAFETY,
    Defendants.



   DEFENDANTS’ SUPPLEMENTAL BRIEF OPPOSING ORDER TO SHOW CAUSE
       AND PLAINTIFFS’ REQUEST FOR A PRELIMINARY INJUNCTION

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                                 INTRODUCTION
         Plaintiffs’ void for vagueness challenge to Section 7 of the Temporary

 Workers Bill of Rights (TWBR) has no likelihood of success on the merits because

 Plaintiffs cannot satisfy the demanding standard for vagueness challenges to civil

 economic statutes: that the law provides “no rule or standard at all.” That is not so

 here, where the statute sets forth a specific mandate of fair pay, and where the

 required comparator analysis and identification of employee benefits falls squarely

 within the scope of Plaintiffs’ expertise. And Section 7 is no more unclear than other

 statutes that have survived vagueness challenges under Third Circuit precedent.

         The statute thus survives constitutional scrutiny on its face. But were there

 any doubt, the forthcoming notice of proposed rulemaking from the NJ Department

 of Labor & Workforce Development (NJDOL)—which will likely be made publicly

 available by July 21—only further weakens Plaintiffs’ claim. Finally, this Court

 lacks jurisdiction to adjudicate Plaintiffs’ challenge to NJDOL’s rulemaking

 authority (although the challenge fails on the merits). No injunction is warranted.

    I.      SECTION 7 IS NOT VOID FOR VAGUENESS.

            A.    Plaintiffs’ Vagueness Challenge Does Not Meet The
                  Extraordinarily Demanding Standard Applied To Civil
                  Economic Legislation.

         Section 7(b)’s fair-pay standard, which calls for fair pay for ‘the same or

 substantially similar work,’ is not void for vagueness. The statute provides sufficient

 notice to regulated entities and amply satisfies the “no rule or standard at all” test.

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       First, as the State has explained, PI Opp. (ECF 18) at 23-34, vagueness

 doctrine is “especially lax” for economic legislation. FTC v. Wyndham Worldwide

 Corp., 799 F.3d 236, 250 (3d Cir. 2015). To be held unconstitutionally vague, a law

 must be “so vague as to be ‘no rule or standard at all.’” Id. (quoting CMR D.N. Corp.

 v. City of Phila., 703 F.3d 612, 631-32 (3d Cir. 2013)); see also Coates v. City of

 Cincinnati, 402 U.S. 611, 614 (1971) (noting all that is required for economic

 legislation to overcome a vagueness challenge is to be “comprehensible”). Plaintiffs

 do not—and cannot—dispute that “no rule or standard at all” is the governing legal

 rule. Nor do Plaintiffs even attempt to meet that high burden.

       Instead, Plaintiffs’ argument boils down to the notion that because they have

 raised questions about how to “calculate average wages and average cost of benefits”

 in certain applications, PI Reply (ECF 19) at 9, Section 7 must be struck down. But

 the test for constitutional vagueness claims is not whether a law was “drafted with

 the utmost precision,” Echo Powerline, L.L.C. v. Occupational Safety & Health Rev.

 Comm’n, 968 F.3d 471, 477 (5th Cir. 2020), or whether it “contain[s] some

 ambiguities” that produce questions of interpretation, CMR, 703 F.3d at 631. After

 all, “the meaning of (disputed) terms” is a question in many—if not all—statutes,

 and a contrary rule would render many economic statutes unconstitutional. Grayned

 v. City of Rockford, 408 U.S. 104, 110 n.15 (1972). Thus, the mere “fact that different

 minds reach different results when applying” a law is no reason to hold it void for


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 vagueness. United States v. Search of Music City Mktg., Inc., 212 F.3d 920, 926 n.5

 (6th Cir. 2000); United States v. Lachman, 387 F.3d 42, 57 (1st Cir. 2004) (mere

 questions of interpretation do not render vague laws “addressed to sophisticated

 businessmen and corporations which ... necessarily consult counsel in planning their

 activities”); Hejira Corp. v. MacFarlane, 660 F.2d 1356, 1367 (10th Cir. 1981).

       That the Third Circuit has repeatedly upheld civil economic statutes against

 vagueness challenges is instructive. For example, in Wyndham Worldwide, 799 F.3d

 at 255, the Court rejected a vagueness challenge to a federal statute prohibiting

 “unfair or deceptive acts or practices” even though the Court acknowledged that

 application of that “far from precise” standard turns on “a number of relevant

 factors.” And in CMR, 703 F.3d at 631, the Court rejected a vagueness challenge to

 a local zoning ordinance requiring “development appropriate in scale, density,

 character and use,” despite recognizing some applications involve “close call[s].”

 And the Third Circuit has upheld other civil statutes against vagueness challenges.

 See, e.g., Sypniewski v. Warren Hills Reg’l Bd. of Educ., 307 F.3d 243, 266 (3d Cir.

 2002) (school rule prohibiting possession of “racially divisive” material not void for

 vagueness); Moreno v. Att’y Gen. of United States, 887 F.3d 160, 166 (3d Cir. 2018)

 (“crime involving moral turpitude” in immigration statute not vague); San Filippo

 v. Bongiovanni, 961 F.2d 1125, 1137 (3d Cir. 1992) (dismissal regulations for

 “failure to maintain … sound scholarship and competent teaching” not vague).


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       The plain language of Section 7(b) sets out a specific rule for fair pay that far

 surpasses the “no rule or standard at all” test, and surpasses the standards that the

 Third Circuit has already upheld. Under Section 7(b), if a temporary laborer in a

 designated classification placement performs “the same or substantially similar

 work” as permanent employees “under similar working conditions,” such temporary

 laborer must be paid at least “the average rate of pay and average cost of benefits, or

 the cash equivalent,” of their comparators. N.J. Stat. Ann. § 34:8D-7(b). The TWBR

 further narrows the definition of comparators to those who perform substantially

 similar work “on jobs the performance of which requires equal skill, effort, and

 responsibility.” Id. These are plainly comprehensible standards.

       Moreover, that the entities subject to Section 7 are sophisticated businesses

 familiar with the “conditions” of temporary employment in their industries, as

 indicated by Plaintiffs’ numerous declarations, see ECF 29 at 2-3, makes the instant

 challenge even less meritorious. Section 7’s assessments fall within the scope of

 Plaintiffs’ members’ business. Staffing agencies match job applicants with available

 jobs, which in turn involves assessing both an applicant’s qualifications and a job’s

 requirements. See PI Opp. at 26 (citing evidence from Plaintiffs’ own submissions

 and websites). Operating a staffing agency or running a business with permanent

 employees typically involves paying employees and providing benefits. Section 7’s

 required evaluations fall squarely within the ken of these regulated entities. See


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 United States Telecom Ass’n v. Federal Commc’n Comm’n, 825 F.3d 674, 736

 (D.C.C. 2016); Lachman, 387 F.3d at 57. Plaintiffs have not established that Section

 7(b) raises more questions of interpretation than other “complex ... regulatory

 regime[s].” Lachman, 387 F.3d at 57.

       To be sure, Section 7(b) imposes new compliance burdens on staffing

 agencies and their clients. But the test for vagueness is not whether a law “is

 burdensome.” 21st Century Oncology, Inc. v. Moody, 402 F. Supp. 3d 1351, 1364

 (N.D. Fla. 2019); see also Trojan Techs., Inc. v. Com. of Pa., 916 F.2d 903, 915 (3d

 Cir. 1990) (“Inability to satisfy a clear but demanding standard is different from

 inability in the first instance to determine what the standard is.”); Interactive Media

 Ent. & Gaming Ass’n Inc. v. Att’y Gen. of U.S., 580 F.3d 113, 116 (3d Cir. 2009)

 (same). Thus, Plaintiffs’ suggestions that staffing agency clients might decline to

 provide relevant information and that the requirements have negative economic

 impacts are arguments about whether the statutory standards are demanding, and not

 germane to the legal standard for a void-for-vagueness claim.

       Nothing in Plaintiffs’ latest submission salvages their vagueness argument.

 Their extensive discussion of Connally v. General Const. Co., 269 U.S. 385 (1926),

 is unavailing. Unlike the TWBR, the statute in Connally carried criminal penalties

 and the regulated entities faced “many years of imprisonment.” Id. at 390. Criminal

 provisions are subject to a higher vagueness standard than economic regulations like


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 the TWBR, see Vill. of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489,

 499 (1982); Wyndham Worldwide, 799 F.3d at 250. Indeed, subsequent courts have

 primarily invoked Connally as an illustration of vagueness doctrine as applied to a

 penal law. See, e.g., Sessions v. Dimaya, 138 S. Ct. 1204, 1212 (2018). 1

       Second, even if mere questions of statutory interpretation could render a civil

 economic statute unconstitutionally vague, Plaintiffs’ claim would still fail because

 existing statutes applicable to New Jersey employers invoke similar language and

 standards to those found in the TWBR. Established authority thus provides a road-

 map to how the TWBR is intended to operate.

       Plaintiffs’ assertion that they “cannot even fathom” how to identify “benefits”

 or quantify their “cash equivalent” as required by Section 7(b), ECF 29 at 3, is belied

 by the fact that these statutory terms are not unusual. Notably, N.J. Stat. Ann. § 10:5-

 12(t), to which Plaintiffs’ members are already subject, prohibits discrimination in

 “compensation, including benefits.” Similarly, the New Jersey Prevailing Wage Act

 mandates recordkeeping of both wages and “any benefits paid to each worker”

 pursuant to state contracts for public works. N.J. Stat. Ann. § 34:11-56.61 (emphasis

 added). And NJDOL regulations require contractors “performing construction work


 1
   In any event, the statute in Connally had defects absent here: among other things,
 it employed terms lacking “a well-settled ... meaning,” cf. infra 6-9, and mandated
 pay at a prevailing “rate of wages” without specifying whether the required “rate”
 was a minimum, maximum, or “average of all rates,” 269 U.S. at 394. Section 7, by
 contrast, explicitly requires an average.
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 on a public utility” to maintain “payroll record[s],” N.J. Admin. Code § 12:66-2.4,

 expressly defined to mean both pay and benefits, N.J. Admin. Code § 12:60-2.1

 (“payroll record” includes “[a]ny fringe benefits paid to approved plans, funds or

 programs on behalf of the employee” and “[f]ringe benefits paid in cash to the

 employee”). A business subject to the TWBR—or counsel assisting them, see

 Lachman, 387 F.3d at 57—could surely look to these laws, among others, for

 guidance on how to interpret “benefits” in the context of Section 7(b), if any such

 guidance were necessary. That is especially true given the overlap in work regulated

 by these statutes and the TWBR. See PI Opp. 5 n.2.

       Nor is the rest of the comparator analysis required by the fair-pay provision—

 which entails a fact-sensitive assessment of “working conditions” and “skill, effort,

 and responsibility”—unfamiliar to Plaintiffs. As the State has explained, the federal

 Equal Pay Act and New Jersey’s Diane B. Allen Equal Pay Act—statutes to which

 Plaintiffs’ members are already subject—have long required employers to conduct

 similar analyses. PI Opp. 27-28 (discussing 29 U.S.C. § 206(d)(1) and N.J. Stat.

 Ann. § 10:5-12(t)); see Vill. of Hoffman Ests., 455 U.S. at 498 (“[B]usinesses ... can

 be expected to consult relevant legislation in advance of action.”). It is of no moment

 that those two statutes provide negative commands against discrimination whereas

 Section 7(b) affirmatively mandates fair pay. All three establish substantive

 requirements pertaining to similarly situated workers in a given workplace, defined


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 by the “working conditions” and the “skill, effort, and responsibility” required of

 comparators’ jobs. Plaintiffs have not cited a single case suggesting these provisions

 in the federal and state equal pay laws are vague, nor is the State aware of any. See,

 e.g., E.E.O.C. v. McCarthy, 768 F.2d 1, 3 (1st Cir. 1985) (rejecting vagueness

 challenge and describing federal Equal Pay Act as “constitutionally clear”).

       Interpretations of the federal and state equal pay laws also provide guidance

 on the meaning and application of the key terms in Section 7(b). See, e.g., Interactive

 Media, 580 F.3d at 117 n.6 (noting that the federal Unlawful Internet Gambling

 Enforcement Act that requires “financial institutions to block or restrict transactions”

 is not void for vagueness when the duty is not “not materially different from similar

 duties imposed on financial institutions under other federal law”); U.S. Sec. & Exch.

 Comm’n v. Hui Feng, 935 F.3d 721, 734 n.8 (9th Cir. 2019) (“A word is not vague

 when it has a ‘settled legal meaning.’”) (quoting United States v. Williams, 553 U.S.

 285, 306 (2008)). The extensive body of case law and regulations interpreting the

 federal Equal Pay Act provide guidance on how to conduct comparator analysis. For

 example, it is well-settled that the analysis is a fact-sensitive one, and cannot be

 conducted based on job descriptions alone. See 29 C.F.R. § 1620.13(e); PI Opp. 28.

 And evaluating “skill” includes “consideration of such factors as experience,

 training, education, and ability.” 29 C.F.R. § 1620.15. Evaluating “similar working

 conditions” requires using “practical judgment” when assessing a job’s


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 “surroundings” and “hazards,” 29 C.F.R. § 1620.18 2; see 29 C.F.R. § 1620.16

 (clarifying “effort”); see 29 C.F.R. § 1620.17 (clarifying “responsibility”). As for

 New Jersey’s Diane B. Allen Equal Pay Act, enacted in 2018, guidance issued by

 the New Jersey Division on Civil Rights in 2020 shows that agency’s understanding

 of the law largely tracks authoritative interpretations of comparable language in the

 federal law. See Division on Civil Rights, Guidance on the Diane B. Allen Equal

 Pay Act (Mar. 2020), at 6-8, https://tinyurl.com/ye27t8w8. In short, because well-

 worn employment-law authorities shed light on existing compliance obligations

 under equal pay laws, Plaintiffs’ complaints about strikingly similar language in the

 TWBR fall flat.

          B.       Forthcoming Regulations        Further    Foreclose     Plaintiffs’
                   Vagueness Challenge.

       Section 7 is not unconstitutionally vague on its face for the reasons stated

 above. But were there any doubt on that score, NJDOL’s forthcoming proposed

 rulemaking 3 by July 21 will further explicate the agency’s own interpretation of the



 2
  But “working conditions” “does not encompass shift differentials.” 29 C.F.R. §
 1620.18; see Corning Glass Works v. Brennan, 417 US 188, 202 (1974); cf. Tr. 18-
 19, 94.
 3
   NJDOL intends to post a copy of the notice of proposed rulemaking on its website
 contemporaneous to submitting it to the Office of Administrative Law for
 publication in the New Jersey Register, after which rulemaking will proceed in the
 typical course. See https://www.state.nj.us/oal/rules/schedule/. Defendants will
 update this Court when the notice is posted publicly.
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 statute, and foreclose any contention that Plaintiffs lack guidance on how the statute

 will be enforced.

       As an initial matter, regulations—which are not required under Section 7—

 are not constitutionally necessary because the statute already establishes a sufficient

 standard to satisfy the due process clause. That is typical: statutes often survive void-

 for-vagueness challenges without regulatory guidance or rulemaking. See, e.g.,

 Holder v. Humanitarian L. Project, 561 U.S. 1, 19-25 (2010) (criminal statute);

 Grayned, 408 U.S. at 112 (municipal ordinance); J.S. ex rel. Snyder v. Blue

 Mountain Sch. Dist., 650 F.3d 915, 936 (3d Cir. 2011) (school district policies); see

 also, e.g., U.S. Sec. & Exch. Comm’n v. Kik Interactive Inc., 492 F. Supp. 3d 169,

 183 (S.D.N.Y. 2020) (agency’s “failure to issue guidance on ... enforcement” did not

 render statute vague); Smith v. Truman Rd. Dev., LLC, 414 F. Supp. 3d 1205, 1240

 (W.D. Mo. 2019) (rejecting vagueness challenge to “automated telephone dialing

 system” based on statutory text alone, noting statute was in effect for 11 years before

 regulations were issued). Section 7(b) of the TWBR no more needs interpretive

 regulations or guidelines to survive a vagueness challenge than these standards.

       Nonetheless, the forthcoming release of the notice of proposed regulations by

 NJDOL—anticipated by July 21, two weeks before the rest of the TWBR takes

 effect—will provide additional guidance on the fair-pay provision. The proposed

 regulations will confirm that the general principles for interpreting the same or


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 similar terms in the federal and state equal pay laws will guide Section 7’s

 comparator analysis. And that can only further support the constitutionality of

 Section 7 against a void-for-vagueness challenge. 4 The proposed rules provide

 public notice of the enforcing agency’s own interpretation of the statute. And

 NJDOL will bind itself to its own interpretation of the Statute and only enforce the

 law in a manner consistent with its own proposed regulations. That eliminates any

 specter of concern about arbitrary enforcement—which is ultimately the “more

 important aspect of vagueness doctrine.” Kolender v. Lawson, 461 U.S. 352, 357-58

 (1983) (noting doctrine merely requires “minimal guidelines” to avoid “a

 standardless sweep [that] allows policemen, prosecutors, and juries to pursue their

 personal predilections”).

       As part of the rulemaking process set forth in the Administrative Procedure

 Act, N.J. Stat. Ann. § 52:14B-1 et seq., the regulated community will have the

 opportunity to publicly comment on the proposed rulemaking, and any perceived

 shortcomings or asserted lack of clarity. NJDOL is required to address every

 comment received in response to the proposed rulemaking before adopting the final


 4
   Plaintiffs are plainly wrong to contend that the very fact of rulemaking “is a de
 facto admission that the Legislation requires elaboration thorough regulations to
 make the Legislation comprehensible.” ECF 29 at 3. If the fact of rulemaking itself
 makes the statute unconstitutionally vague, that would mean vast swaths of federal
 and state statutes would be unconstitutional absent rulemaking—a remarkable
 proposition.

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 rule, and additionally has the opportunity to amend the rule before adoption in

 response to such comments. In short, while forthcoming regulations are not

 necessary to defeat Plaintiffs’ vagueness claim, that Plaintiffs will have further

 guidance from NJDOL on its interpretation of Section 7(b) and a commitment to

 enforce the statute in accordance with that interpretation only confirms Plaintiffs are

 unlikely to prevail on this challenge.

       Finally, there is no basis to consent to or require “a limited preliminary

 restraint.” ECF 29 at 10. Any injunction against a duly-enacted statute is an

 extraordinary remedy, which cannot be awarded merely because a plaintiff raises

 questions about specific applications. And Plaintiffs’ proposal of a blanket stay of

 enforcement means that NJDOL could not correct even patent violations of the pay-

 equity provision—such as if a temporary worker in a designated classification

 placement were paid $20 per hour for work in every way identical to that performed

 by five permanent employees, who were each paid $30 per hour. Should that occur

 after August 5, enforcement of Section 7 follows the expressed will of the

 Legislature, and the advice of the Governor, which directed that Section 7 take effect

 by operation of law by that date. Thus, while NJDOL will continue to exercise

 enforcement discretion—including a commitment to take good-faith efforts to

 comply with Section 7 into account when enforcing that provision pending final

 rulemaking, blanket non-enforcement is not appropriate. After all, this is not a case


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 in which the statutory provision at issue requires agency action before public

 compliance, such as statutes requiring the agency to create a licensing process before

 regulated entities apply under that process. Instead, the statute is a legal requirement

 that is valid on its face, and no injunction or stay of enforcement is appropriate.

 II.      Plaintiffs’ Cannot Succeed On Their State Law Claim That NJDOL
          Lacks Rulemaking Authority Under Section 7.

          As discussed above, because the forthcoming notice of proposed rulemaking

 reflects NJDOL’s own interpretation of the statute, its issuance alone—regardless of

 final adoption—is enough to alleviate any lingering vagueness concerns. But in any

 event, Plaintiffs new claim regarding NJDOL’s rulemaking authority is barred by

 sovereign immunity. 5 It is blackletter law that while litigants may seek prospective

 relief in federal court to prevent violations of federal law by state officials, no such

 allowance exists for claims under state law. See PI Opp. 12 (explaining state law

 claims are barred by sovereign-immunity); Pennhurst State Sch. & Hosp. v.

 Halderman, 465 U.S. 89, 106 (1984); Pa. Fed’n of Sportsmen’s Clubs v. Hess, 297

 F.3d 310, 323 (3d Cir. 2002) (“Suit for violations of state law brought against a state

 or its officials ... may simply not be brought in federal court.”). This principle

 precludes federal courts from granting relief based on arguments that state officials

 failed “to conform their conduct to state law.” Pennhurst, 465 U.S. at 106; see id.



 5
     Plaintiffs first raised this question in their preliminary-injunction reply brief.
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 (noting “it is difficult to think of a greater intrusion on state sovereignty” than when

 a federal court passes on the merits of such a claim). Sovereign immunity thus bars

 any claim in this court about whether NJDOL’s rulemaking authority under the

 TWBR extends to Section 7—a question of state law. See id. at 101 n.11. 6

       Even so, Plaintiffs’ objection lacks merit. For one, the very statute that sets

 forth the powers and responsibilities of NJDOL explicitly provides that “The

 commissioner may make and publish rules and regulations not inconsistent with law

 as he shall deem necessary to enforce the provisions of this title.” N.J. Stat. Ann. §

 34:1-20. See also N.J. Stat. Ann. § 34:1A-3(e) (“The commissioner shall ... [a]dopt,

 issue and promulgate, in the name of the department, such rules and regulations as

 may be authorized by law.”).

       Plaintiffs’ argument—that the Commissioner only has rulemaking authority

 when another statutory provision explicitly provides for it—would make the general

 grants of rulemaking authority in N.J. Stat. Ann. § 34:1-20 and § 34:1A-3(e) dead

 letters. And New Jersey precedents confirm the same. In Esso Standard Oil Co. v.

 Holderman, 183 A.2d 454, 461 (N.J. App. Div. 1962), aff’d, 188 A.2d 599 (N.J.

 1963), the court cited the very above-listed statutory grants of rulemaking authority

 as the source of rulemaking authority for the challenged regulations. And under New


 6
  Of course, Plaintiffs are free to bring a claim challenging NJDOL rulemaking under
 Section 7 as ultra vires—and any other substantive challenge to the forthcoming
 regulations—in New Jersey state court.
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 Jersey law, “[t]he presumption is in favor of conformity, and a regulation will not be

 set aside unless it is plainly and palpably inconsistent with the statute,” Grenewicz

 v. Ligham, 111 A.2d 293, 297-98 (N.J. App. Div. 1955). As the court in Harrison v.

 A & J Friedman Supply, Co., 858 A.2d 567, 569 (N.J. App. Div. 2004) explained,

 the broad rulemaking authority in N.J. Stat. Ann. § 34:1-20 is limited only by the

 “not inconsistent with law” language, which means the content of regulations must

 not be “plainly and palpably inconsistent” with statutory law. That is not a limit on

 the delegation of rulemaking power in the first instance, as Plaintiffs argue here.

       Even putting the broad delegation in the enabling acts aside, the New Jersey

 Supreme Court has long instructed that courts may find an “implicitly supplied”

 delegation by “look[ing] beyond the specific terms of the enabling act to the statutory

 policy sought to be achieved [and] examining the entire statute in light of its

 surroundings and objectives.” N.J. Guild of Hearing Aid Dispensers v. Long, 384

 A.2d 795, 804 (N.J. 1978). Here, a reviewing state court could well determine that a

 delegation of rulemaking authority is implicit in the statutory scheme and purpose

 of protecting the most vulnerable temporary laborers.

                                   CONCLUSION

       For the foregoing reasons, this Court should deny Plaintiffs’ request for a

 preliminary injunction.




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                              Respectfully submitted,
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